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                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                        SAN ANTONIO DIVISION

VOTE.ORG,                                  §
     Plaintiff,                            §
                                           §
v.                                         §  CIVIL ACTION NO. 5:21-cv-00649
                                           §
JACUELYN CALLANEN, in her official         §
capacity as the Bexar County Elections     §
Administrator; BRUCE ELFANT, in his        §
official capacity as the Travis County Tax §
Assessor-Collector; REMI GARZA, in his     §
official capacity as the Cameron County    §
Elections Administrator; MICHAEL           §
SCARPELLO, in his official capacity as the §
Dallas County Elections Administrator,     §
         Defendants,                       §
                                           §
And                                        §
                                           §
KEN PAXTON, in his official capacity as    §
the Attorney General of Texas, LUPE C.     §
TORRES, in his official capacity as Medina §
County Elections Administrator, and        §
TERRIE PENDLEY, in her official            §
capacity as Real County Tax Assessor-      §
Collector,                                 §
         Intervenor-Defendants.            §
___________________________________________________________________________

               DEFENDANTS KEN PAXTON & REMI GARZA’S
                    MOTION FOR SUMMARY JUDGMENT
___________________________________________________________________________




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TO THE HONORABLE UNITED STATES DISTRICT JUDGE JASON K. PULLIAM:

Intervenor-Defendant Ken Paxton, in his official capacity as Attorney General of Texas, and Remi

Garza, in his official capacity as Cameron County Elections Administrator, respectfully move the

Court for summary judgment. Intervenor-Defendant Paxton joins in full the Motion for Summary

Judgment filed by Intervenor Defendants Lupe Torres and Terrie Pendley as to Issues 1 and 2 and

the arguments that Plaintiff has no private cause of action under Section 1971 and, in the alternative,

no meritorious claim under Section 1971 both as pleaded and after considering the evidence at the

summary-judgment stage.

                 STATEMENT OF GROUNDS & UNDISPUTED FACTS

I.      Voter Registration Procedures in Texas

1.      To register to vote in Texas, applicants need only fill out and submit an application form

to a voter registrar that satisfies Section 13.002 of the Texas Election Code—namely, that it is “in

writing and signed by the applicant.” Tex. Elec. Code §§ 13.002; 13.143(d-2). Under the Election

Code, any “person desiring to register to vote” can submit his or her application to the county

registrar by personal delivery, by mail, or by fax machine. Tex. Elec. Code § 13.002(a). If the person

needs assistance, the applicant may appoint an agent to submit the application on the person’s

behalf pursuant to Section 13.003. Further, the Election Code designates certain government

offices to act as “voter registration agencies,” including the Department of Public Safety (DPS), the

Health and Human Services Commission, and public libraries. Id. § 20.001. Each of these offices

“shall provide a voter registration application form to each” qualified individual “in connection

with the person’s application for initial services” and “any recertification, renewal, or change of

address, unless the person declines in writing.” Id. at § 20.031. If the voter utilizes the service, then

the office “shall deliver to the voter registrar . . . each completed registration application.” Id.

§ 20.035. In some counties, upwards of 75 percent of registrants will choose this option. Callanen

Dep. at 92:17–93:14, Appx. 167–68.
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2.        To facilitate this process, Texas has adopted a series of policies aimed at ensuring that

eligible voters have both easy access to application forms and the means of submitting them. Appx.

199–203, 217:2–233:8. For instance, Texas permits counties to appoint volunteer deputy registrars,

who have the power to not only distribute application forms in the community but also accept

them on the county’s behalf. Tex. Elec. Code §§ 13.038, 13.041. According to Defendant Bruce

Elfant, the Travis County Tax Assessor-Collector, Travis County currently has around 2,500

volunteer deputy registrars that work with his office, who will go “anywhere where there’s more

than a few people gathered,” so that residents may have the opportunity to register to vote where

it is convenient to them, such a coffee shop, movie theater, or local event. Elfant Dep. 414:14–21,

421:20–21, 424:3–22, Appx. 326, 328.

3.        The State also ensures access to voter application forms should Texans wish to register on

their own initiative. County election officials distribute voter registration applications to groups in

their communities to facilitate registration. Appx. 161–62, 68:6–69:12. The Texas Secretary of State

provides a copy of the application form on its website, which registrants may fill out and print.

Request      for   Voter     Registration   Applications,   TEXAS      SECRETARY        OF     STATE,

https://www.sos.state.tx.us/elections/voter/reqvr.shtml (last visited March 24, 2022); Ex. A,

Texas Voter Registration Application, Appx. 1. The Secretary of State will also mail registrants a

postage-paid application form upon request, as will their county registrar. Ex. B, Screenshot from

sos.state.tx.us, Appx. 2.

4.        Texas’s voter registration program has proven successful. For example, in Travis County,

97 percent of eligible residents were registered in the lead up to November 2020 election. Appx.

329, 425:16–427:9.

5.        To improve access to voter registration, the Texas Legislature enacted Senate Bill 910 in

2013, which allowed prospective voters to submit a registration application by facsimile so long as

the hard copy of the application was sent by mail to the county registrar within four days of the fax
                                                     2
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transmission. Act of May 27, 2013, 83rd Leg., R.S., ch. 1178 (S.B. 910), § 3, 2013 Tex. Gen. Laws

2923, 2923–24. SB 910 did not alter Texas’s longstanding requirement that voters provide an

original, wet signature on the hard copy submitted by mail. Tex. Elec. Code § 13.002(b) (“A

registration application must be in writing and signed by the applicant.”). Instead, the point of the

“provision was to allow [the registrant] to hold their place in line, to hold their effective date, but

to follow it up with the original signed copy of the voter registration application” in the next four

business days. Ingram Dep. 95:15–20, Appx. 399; Tex. Elec. Code § 13.143(d)(2) (“For purposes

of determining the effective date of a registration, an application submitted by . . . telephonic

facsimile machine is considered to be submitted to the registrar on the date the transmission is

received by the registrar . . . .”).

6.      When SB 910 was adopted, there was no doubt as to its interpretation nor any suggestion

that the new law conflicted with the original, wet signature requirement of § 13.002. See Appx. 287,

257:6–8; Lopez Dep. 104:8–22, Appx. 509; Appx. 292, 277:16–21. The Secretary of State is aware

of no county that read SB 910 to permit imaged signatures before 2018, and the Secretary’s annual

training to election officials every year since SB 910 was passed instructed election officials on this

requirement. Appx. 509, 104:8–22. The four County Defendants 1 have testified similarly. Appx.

165, 82:14–83:14; Appx. 166, 87:5–10; Appx. 500, 65:1–66:8; Appx. 508, 97:7–98:1; Appx. 291–92,

276:16–277:14; Garza Dep. 147:11–148:17, 155:5–21, Appx. 371, 373.

7.      A physical signature guarantees that registrants attest to meeting the qualifications to vote.

Ingram Dep. 159:7–160:11, 172:12–173:7 176:8–177:6. Also, with the registration signature on file,

early voting ballot boards and signature verification committees may compare a signature at the

time of registration with later signatures given during the electoral process if the authenticity of the


1 For the sake of brevity, this term will refer collectively to County Defendants Jacquelyn Callanen, in her

official capacity as the Bexar County Elections Administrator; Bruce Elfant, in his official capacity as the
Travis County Tax Assessor-Collector; Remi Garza, in his official capacity as the Cameron County Elections
Administrator; and Michael Scarpello, in his official capacity as the Dallas County Elections Administrator.
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registration or corresponding ballot is in question. Tex. Elec. Code § 87.027; Appx. 173, 113:12–

114:10; Appx. 417, 161:3–8; Appx. 420, 179:14–20; Appx. 422, 188:7–18; Scarpello Dep. 84:3–85:1,

Appx. 539; Appx. 363, 116:1–12; Tex. Sec’y of State, Election Advisory No. 2022-08 (Jan. 28, 2022),

available at sos.texas.gov/elections/laws/advisory2022-08.shtml. Registration files at the county are

subject to investigation by Texas authorities investigating election-related offenses related to

signature misappropriation. Appx. 175–76, 124:21–125:9; Appx. 430, 219:6–220:18; Ex. G, OAG

Public Filings & Indictments at pp. 6, 10, Appx. 20, 24.

II.     Vote.org approaches certain Texas County Officials in 2018.

8.      Founded in 2016, Plaintiff Vote.org is a 501(c)(3) nonprofit, voting registration and get-

out-the-vote technology platform that seeks to push internet-based voter registration options.

Hailey Dep. 28:6–29:7, Appx. 61; 46:23–47:10, Appx. 66. The users of its web applications are not

considered to be members of the organization itself. Appx. 63, 35:6–8; Appx. 79, 101:15–24. In

2018, Plaintiff thought it had found a loophole to circumvent Texas’s refusal to adopt online voter

registration, and it developed a web application that allowed prospective registrants to input their

information into embedded fields and upload an electronic image of their signature. Appx. 66,

47:11–48:15; Appx. 67, 53:13–22; Appx. 72–73, 72:11–74:4. The web application would then

transpose the information and signature file onto a voter registration application form and transmit

the application form to Plaintiff’s fax vendor, who would transmit via fax to the county voter

registrar. Another third-party vendor would then mail a printed version of the application to the

county voter registrar. Appx. 66–67, 49:5–50:13. Before developing this application, Plaintiff did

not use any facsimile technology to facilitate the registration of voters in Texas. Appx. 73, 75:3–9.

9.      In the fall of 2018, Plaintiff’s employees approached an undisclosed number of election

officials at the county level in Texas to see where it could turn on its web application. Ex. E,

Vote.org Email 1, Appx. 8; Appx. 74, 78:5–79:2. Plaintiff’s CEO, Andrea Hailey, acknowledged

that there was “some confusion among different election officials” and that “some election
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administrators interpreted the law in different ways” Appx. 74, 80:4–10; Appx. 77, 92:11–24; Appx.

86–87, 129:24–131:7; Appx. 114–15, 241:7–242:11. According to Plaintiff, the meetings identified

a number of “favorable counties . . . who want[ed] to use the e-sign tool[.]” Appx. 110, 223:3–16.

These “favorable counties” include the four County Defendants. Appx. 111–12, 129:24–130:4.

10.    Plaintiff’s representatives, however, did not disclose to all the counties when securing their

approval that the applications Plaintiff would be sending them would not contain a wet signature.

Appx. 213, 275:21–276:11; Appx. 498, 59:16–60:16; Appx. 263, 161:22–162:21; Appx. 370, 141:10–

20. In addition, a number of counties Plaintiff approached informed Plaintiff that the county would

not participate in utilizing its web application because they did not view the technology as a valid

method of voter registration. Appx. 74, 80:11–16; Appx. 77, 92:11–93:11; Appx. 99, 181:5–10. A

representative from Dallas County, who worked in election administrations there for a decade,

testified that what Plaintiff wanted to accomplish in 2018 was illegal, made him uncomfortable, and

could cause voters to be disenfranchised. Appx. 500, 65:1–66:8; Appx. 509, 102:21–103:21; Appx.

511, 110:18–111:1. Despite the documented confusion among county officials, Plaintiff made no

effort to contact the Texas Secretary of State prior to launch of its e-sign tool to determine its

compliance with the Election Code. Appx. 98, 177:5–12.

11.    Plaintiff also ran into technical problems that compromised users’ registration applications.

Approximately 15 percent of the applications submitted through Plaintiff to Dallas County

contained signature lines that were blank, blacked out, illegible, or otherwise of such poor quality

that they could not be accepted. Appx. 512, 114:8–17. The other counties experienced similar

problems during the rollout of Plaintiff’s “pilot project.” Ex. C, Voter Registration Application

from Cameron County, Appx. 4; Appx. 71–72, 68:4–71:19, Appx. 98, 174:20–175:6; Appx. 262–

63, 160:2–161:21; Appx. 497, 56:16–20; Appx. 498, 58:15–60:8; Appx. 512, 113:22–114:7; Appx.

370, 142:4–14. The Travis County Tax Assessor-Collector’s office, which had been working with

Plaintiff to facilitate the fax transmissions, informed Plaintiff that many of the signatures were
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“poor . . ., some blank, and some blacked out” and that “[t]his is a real problem and [the office is]

concerned about proceeding until this is cleared up.” Ex. D, Travis County Emails, Appx. 5; Appx.

262–63 160:2–161:21. To top it off, Plaintiff’s “pilot program” failed to transfer all of the

applications to county election officials via fax, including at least 259 applications in Dallas County.

Appx. 515, 125:17–126:21. Plaintiff’s CEO admits that their engineering team will need to “fix” the

issues with imaged signatures before their web application can be used again. Appx. 72, 71:20–72:8.

12.     Texans using Plaintiff’s web application were not informed that they were being asked to

participate in a “pilot project” and that their registration applications might be subject to rejection

by county officials due to the lack of an original, wet signature. Appx. 99, 180:11–181:4. Nor were

Texans informed that Plaintiff had reason to suspect that its program violated Texas law. Appx. 99,

181:5–14. Without a valid signature, an election administrator may consider the registration

application void. Appx. 537, 74:20–75:4. Indeed, Dallas County deemed every single application

submitted by Vote.org incomplete due to the lack of an original, wet signature as soon as they

started arriving, even before the Secretary of State issued a statement. Appx. 513, 117:2–21. The

Bexar County Election Administrator also testified that she had decided to return the registration

applications independent of her later conversations with the Secretary of State’s Office because the

applications had no original, wet signatures. Appx. 214, 280:4–281:2.

III.    Texas Secretary of State issues guidance to counties.

13.     Shortly after the fax transmissions from voters came in with deficient, imaged signatures,

the Cameron County Elections Administrator, Remi Garza, sought clarification from the Secretary

of State to ascertain if the voter registration applications submitted through Plaintiff’s technology

complied with the Election Code. Appx. 370, 143:21–144:22; Appx. 424–25, 196:17–197:7. Because

the applications lacked an original, wet signature, the Secretary’s Office advised Garza that they did

not. Appx. 426, 202:13–203:1. Prospective voters seeking to register using Plaintiff’s e-sign

technology were given the opportunity to cure the deficiencies in their applications after receiving
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a “notice of incomplete” pursuant to the Election Code. See Tex. Elec. Code § 13.073; Appx. 426,

202:13–203:1; Appx. 206, 248:3–7; Appx. 514–15, 124:17–125:7.

14.      Secretary of State Rolando Pablos issued a statement shortly thereafter clarifying the

requirements under the law stating that online voter registration is not available in Texas. Ex. H,

Secretary Pablos Statement, Appx. 52. 2 Each of the county election administrators/tax assessor-

collectors who received Plaintiff’s applications were consulted about the proper application of the

registration law, which required sending notices of incompletion. Appx. 52; Appx. 425– 26, 200:2–

203:3.

15.      After the Secretary issued the guidance related to voter registration applications, Plaintiff

notified the users of its web application that their registrations would not be processed unless action

was taken to correct the signature errors. Ex. F, Vote.org Email to Users, Appx. 11; Appx. 137,

330:17–22; Appx. 137, 332:10–19. In its notice, Plaintiff stated that it was “truly deeply sorry for

this inconvenience.” Appx. 11.

IV.      Texas passes its latest “cleanup bill,” HB 3107.

16.      During the 2021 Legislative Session, Texas passed House Bill 3107, a “cleanup” measure

intended to clarify several provisions of the Texas Election Code, but which was not intended to

make any substantive changes to Texas election law. Act of May 28, 2021, 87th Leg., R.S., ch. 711

(H.B. 3107); Appx. 398, 92:4–13; Appx. 399, 96:6–97:19; Appx. 163, 75:13–77:1. Section 14 of HB

3107 affirmed that an original, wet signature is required on applications submitted via mail or

personal delivery, regardless of whether a copy was previously submitted via fax. See Tex. Elec.




2 The Texas Democratic Party, Democratic Senatorial Campaign Committee, and Democratic Congressional

Campaign Committee sued the Secretary of State asserting the same legal claims present in this challenge.
Tex. Democratic Party v. Hughs, 860 F. App’x 874, 875–76 (5th Cir. 2021). The Fifth Circuit concluded that the
Secretary lacked a sufficient enforcement connection to the wet signature rule under the Ex parte Young
exception to sovereign immunity and the case was dismissed. Id. at 879.

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Code § 13.143(d-2). 3

17.     Neither HB 3107 nor SB 910 changed the longstanding requirement that voter registration

applications submitted by mail and personal delivery must contain an original, wet signature—they

merely added the opportunity for applicants to set their registration date as the date they fax a copy

to their county voter registrar. Appx. 401, 102:3–103:12.

V.      Plaintiff sues County Defendants.

18.     After HB 3107 was enacted in 2021, Plaintiff sued the four “favorable” counties. CEO

Hailey characterizes Plaintiff’s “biggest injury” as allegedly not being able to use its technology “in

the most streamlined way”—that it was “wasted technology”—and the time and resources spent

in developing the e-sign tool. Appx. 81, 108:9–109:11; Appx. 128, 295:23–296:3. These injuries are

confined to operating expenses in 2018, and were not incurred in response to the passage of HB

3107 in 2021. Appx. 82, 110:14–111:3; Appx. 83, 115:13–116:8. Plaintiff’s web application has been

turned off in Texas since October 2018. Appx. 70, 62:14–19; Appx. 72, 70:1–21; Appx. 75, 83:13–

84:2.

19.     Plaintiff has not produced a breakdown of expenses attributable to not being able to use its

technology “in the most streamlined way” or of expenses spent to develop the e-sign tool. What it

has produced are its expenses for the years 2018 to 2021, which were $10,407,038 (2018);

$3,224,329 (2019); $14,261,934 (2020); and, $1,798,671 (2021) and the projected budget for 2022

is $5,979,009. Ex. I, Annual Budgets, Appx. 559–60.




3 Section 14’s language reads:


        For a registration application submitted by telephonic facsimile machine to be effective, a
        copy of the original registration application containing the voter's original signature must
        be submitted by personal delivery or mail and be received by the registrar not later than the
        fourth business day after the transmission by telephonic facsimile machine is received.

Act of May 28, 2021, 87th Leg., R.S., ch. 711, § 14 (H.B. 3107).
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VI. Challenged Causes of Action

        Defendants Paxton and Garza challenge both causes included in the Complaint: Count I,

Violation of Section 1971 of the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B), and Count

II, U.S. Const. Amends. I, XIV; 42 U.S.C. § 1983, asserting an undue burden on the right to vote.

ECF 1 at pp. 11–12.

VII. Defendants Paxton and Garza’s Grounds for Summary Judgment

        The Court does not have subject-matter jurisdiction over any of Plaintiff’s claims because

Plaintiff lacks Article III standing, as it has no concrete injury and Defendants do not cause

Plaintiff’s alleged injury. Further, Plaintiff has no private cause of action under 52 U.S.C.

§ 10101(a)(2)(B) because the statute authorizes only the Attorney General to bring suit. Plaintiff

also lacks statutory standing to sue on behalf of voters under 42 U.S.C. § 1983. The Court need not

proceed to the merits for these reasons, but if it does, HB 3107 must be upheld as constitutional

under Anderson-Burdick because Plaintiff’s suit does not implicate the right to vote and because the

burden, if any, under HB 3107 is minimal and significantly outweighed by Texas’s compelling state

interests. Finally, HB 3107 does not violate 52 U.S.C. § 10101(a)(2)(B) because signature

requirements are material and no voter is denied the right to vote for a defect in signature.

                               STATEMENT OF THE ISSUES

1.       Whether Plaintiff, a nonprofit organization, has standing to assert claims regarding voting

rights of parties who are not members of Plaintiff’s organization and are not before the Court.

2.      Whether Plaintiff has a constitutional right to submit electronic voter registration

applications on behalf of its users by applying an imaged signature to the hard copy required to be

mailed to the respective county registrar.

3.      Whether the burden, if any, posed by HB 3107 is constitutional under Anderson-Burdick

scrutiny when several alternatives to facsimile registration exist for registrants to choose from.

4.      Whether Plaintiff has a cause of action under Section 1971 or the Civil Rights Act when
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the statute contains no private right of action and the complaint contains no allegation of racial

discrimination.

5.      Whether the requirement to physically sign a voter registration form that is mailed after

being faxed to the respective county official violates the materiality provision of Section 1971.

                                    STANDARD OF REVIEW

        A “court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The mere existence of some factual

dispute will not defeat summary judgment unless that factual dispute is material to an issue affecting

the outcome of the case. Anderson v. Liberty Lobby, 477 U.S. 242, 247–49 (1986). Movants “must

demonstrate the absence of a genuine issue of material fact,” but need not “negate the elements of

the nonmovant’s case.” Id.; Boudreaux v. Swift Transp. Co., 402 F.3d 536, 540 (5th Cir. 2005).

                                ARGUMENT & AUTHORITIES

I.      Plaintiff does not have standing.

        At its core, Plaintiff’s claim is that it has a constitutional entitlement to use any technological

method it wants to help Texans register to vote. Standing requires (1) an injury in fact; (2) that the

injury be fairly traceable to the alleged wrongful conduct of the defendant; and (3) redressability.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). Because Plaintiff seeks prospective relief, it

must establish an “imminent” future injury. Id. at 564. The Supreme Court has “repeatedly

reiterated that threatened injury must be certainly impending to constitute injury in fact.” Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (quotation omitted). “[F]uture injury to others is

irrelevant; plaintiffs seeking injunctive relief must show a continuing or threatened future injury to

themselves.” Id. at 721. Plaintiff does not assert associational standing on behalf of any members

of its organization because the organization does not have members—it therefore can only assert

standing based on injuries to the organization, but for the following reasons Plaintiff’s claims do
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not satisfy the Article III standing threshold. ECF 70 at 3; Appx. 63, 35:6–8; Appx. 79, 101:15–24.

        An organization lacks organizational standing unless it satisfies the same Article III

requirements applicable to individuals: injury in fact, causation, and redressability. See NAACP v.

City of Kyle, 626 F.3d 233, 237 (5th Cir. 2010) (citing Lujan, 504 U.S. at 560–61). In an appropriate

case, an organization can establish an injury in fact by showing that the challenged law conflicts

with the organization’s mission and “perceptibly impair[s]” its activities. Havens Realty Corp. v.

Coleman, 455 U.S. 363, 379 (1982). At the summary-judgment stage, mere allegations of injury are

insufficient and the “plaintiff must establish that there exists no genuine issue of material fact as to

justiciability or the merits.” Dep’t of Commerce v. U.S. House of Representatives, 525 U.S. 316, 329 (1999)

(citing Lujan v. Nat’l Wildlife Federation, 497 U.S. 871, 884 (1990)). A plaintiff “cannot manufacture

standing by choosing to make expenditures based on” an alleged harm that does not itself qualify

as an injury in fact. Clapper, 568 U.S. at 402. Even if the showing necessary for an injury in fact is

slight, “[n]ot every diversion of resources to counteract the defendant’s conduct . . . establishes an

injury in fact.” City of Kyle, 626 F.3d at 238.

        Plaintiff has suffered no concrete injury caused by the Defendants’ enforcement of HB

3107 because it did not divert resources in response to HB 3107 and there is no conflict with its

mission for the reasons stated in OAG’s Motion to Dismiss and for Judgment on the Pleadings,

ECF 53 at pp. 5–6; instead, Plaintiff’s alleged harm is the “wasted technology” it developed, and

turned off, in Texas years before the passage of HB 3107. Appx. 70, 62:14–19; Appx. 72, 70:1–21;

Appx. 75, 83:13–84:2, Appx. 81, 108:9–109:11; Appx. 82, 113:2–23; Appx. 128, 295:23–296:3; see

Havens Realty Corp., 455 U.S. at 379. Further, Plaintiff’s claims that eligible voters will be injured by

HB 3107 are not cognizable in the absence of members or the voters as parties to this suit

themselves because Plaintiff has no personal stake in the rights it seeks to vindicate. Plaintiff has

not and cannot name a single Texan injured by Defendants by HB 3107.


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        A.      The entirety of Plaintiff’s alleged harm stems from events in 2018.

        Plaintiff’s CEO admits that the e-sign function of Plaintiff’s web application has been

turned off since 2018 and all expenses Plaintiff incurred in developing and rolling out the

application happened before any County Defendant took an allegedly illegal act against it. Appx.

70, 62:14–19; Appx. 72, 70:1–21; Appx. 75, 83:13–84:2. Therefore, there cannot possibly be any

aspect of HB 3107, passed in 2021, that “perceptibly impairs” Plaintiff’s future operations for

standing purposes. See City of Kyle, 626 F.3d at 237. In Mi Familia Vota, this Court found that the

organization claiming standing had suffered a sufficient injury in fact because the Governor’s

allegedly unlawful conduct in issuing executive orders during the pandemic was the cause of the

plaintiff’s injury and that the Court could redress this injury by enjoining those orders. 497 F. Supp.

3d at 209–10. Here, however, HB 3107 was passed in 2021 and it has not been shown to cause any

diversion of resources on Plaintiff’s part—in fact, the opposite is true because Plaintiff has chosen

to keep its application turned off and in compliance with current voter registration law in Texas.

Appx. 70, 62:14–19; Appx. 72, 70:1–21; Appx. 7583:13–84:2. As a result, Plaintiff suffers no injury

from passage of HB 3107 allowing it to claim standing.

        Plaintiff also has not suffered an injury that caused it to divert resources from any readily-

identifiable routine activities. See City of Kyle, 626 F.3d at 238–39. In City of Kyle, the Fifth Circuit

held that an association of home builders lacked organizational standing based on its assertion that

it undertook efforts to influence local zoning ordinances, which was no different from its routine

activities. See id. Here, Plaintiff began in 2016 and it did not have a routine practice of offering its

e-sign tool to voters in Texas at any point in time. Appx. 61, 28:6–29:7; Appx. 66, 46:23–47:10;

Appx. 72-3, 72:11–74:4; Appx. 73, 75:3–9. The assumption of these costs was not a diversion from

any identifiable routine activities and therefore cannot form the basis for standing. See City of Kyle,

626 F.3d at 238.

        Plaintiff has not and cannot show that it diverted resources in response to HB 3107.
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Plaintiff did not provide a budget or breakdown of expenditures specific to Texas during discovery.

See ECF 106 at 2–3 (ordering that the OAG may move to strike any documents relied on by Plaintiff

during motions for summary judgment that were not disclosed during discovery). However, it did

provide a nationwide budget, which showed the following breakdown of expenditures: $10,407,038

(2018); $3,224,329 (2019); $14,261,934 (2020); and, $1,798,671 (2021). Ex. I, Appx. 559–60.

Plaintiff’s annual expenditures in 2021 decreased by 87.4 % percent from what they were in 2020. No

evidence has been disclosed during discovery about Plaintiff’s actual expenditures in 2022, but

Plaintiff did produce a proposed budget that estimated $5,979,009 in expenditures. Appx. 559.

Notably, 2022 is a midterm election year, so Plaintiff’s proposed budget for 2022 would still only

equal 57.45% of its expenditures during the last midterm election in 2018. See id. With no other

evidence in the record about expenditures in response to HB 3107, and with both actual and

proposed midterm election expenditures significantly decreasing after passage of HB 3107 in 2021,

Plaintiff cannot show a sufficient diversion resources for standing. See Dep’t of Commerce, 525 U.S.

at 329.

          B.     Plaintiff’s injury is self-inflicted.

          Causation does not exist when the injury is “self-inflicted” and plaintiffs may not

“manufacture standing” by incurring costs in the absence of any governmental harm. Clapper, 568

U.S. at 402; Mi Familia Vota v. Abbott, 497 F. Supp. 3d 195, 208 (W.D. Tex. 2020) (quoting Ass’n of

Cmty. Orgs. For Reform Now v. Fowler, 178 F.3d 350, 358 (5th Cir. 1999)). The testimony in this case

shows that Plaintiff’s application did not comply with the Election Code. Appx. 74, 78:5–79:2.

Plaintiff admittedly had every indication that its technology would cause “confusion,” since several

counties rejected their proposal to integrate their web application into their registration operations.

Appx. 74, 80:4–10; Appx. 77, 92:11–24; Appx. 86–87, 129:24–131:7; 98, 177:5–12; Appx. 114–15,

241:7–242:11. Plaintiff avoided seeking out Secretary of State guidance on this issue. Appx. 189,

177:5–12. Not only does this evidence show that Plaintiff’s harm, if any, is self-inflicted, the greater
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harm was to the voters whose registrations were gambled as part of Plaintiff’s “pilot program” and

to whom Plaintiff had to apologize and notify of the need to cure applications. Appx. 11. The

Secretary of State’s representative testified that Plaintiff was “putting these voters’ right to vote and

their eligibility – their registration to vote in jeopardy because of their actions[.]” Appx. 425, 197:17–

198:20. The Dallas County representative similarly testified that he believed voters could be

disenfranchised by Plaintiff’s actions. Appx. 511, 110:18–111:1. The harm to the voters, and

Plaintiff’s own harm, was caused by its own negligence and cannot form any basis for its standing.

        C.      Plaintiff has no statutory standing to assert a claim under Section 1983.

        Even if Plaintiff had Article III standing, it would lack statutory standing. Prudential

requirements mandate dismissal when a party fails to assert a cause of action regarding its own,

personal rights. See Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 128 n.4 (2014);

Danos v. Jones, 652 F.3d 577, 582 (5th Cir. 2011). Section 1983 provides a cause of action only when

the plaintiff suffers “the deprivation of any rights, privileges, or immunities secured by the

Constitution and laws.” 42 U.S.C. § 1983. It does not provide a cause of action to plaintiffs claiming

an injury based on the violation of a third party’s rights. See Coon v. Ledbetter, 780 F.2d 1158, 1160

(5th Cir. 1986) (“[L]ike all persons who claim a deprivation of constitutional rights, [plaintiffs] were

required to prove some violation of their personal rights.”).

        Section 1983 “incorporates, but without exceptions, the Court’s ‘prudential’ principle that

the plaintiff may not assert the rights of third parties.” David P. Currie, Misunderstanding Standing,

1981 Sup. Ct. Rev. 41, 45. When “[t]he alleged rights at issue” belong to a third party, rather than

the plaintiff, the plaintiff lacks statutory standing, regardless of whether the plaintiff has suffered

his own injury. Danos, 652 F.3d at 582; see also Conn v. Gabbert, 526 U.S. 286, 292–93 (1999) (quoting

Warth v. Seldin, 422 U.S. 490, 499 (1975)) (holding that a lawyer “clearly had no standing” to bring

a § 1983 claim for an injury he suffered as a result of “the alleged infringement of the rights of his

client” because a plaintiff “generally must assert his own legal rights and interests, and cannot rest
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his claim to relief on the legal rights or interests of third parties”).

        Here, all of Plaintiff’s claims depend on the right to vote. ECF 1 ¶¶ 25, 29, 35–36. But

Plaintiff is an artificial entity without voting rights. Appx. 61, 28:6–29:7; Appx. 66, 46:23–47:10.

Plaintiff claims it suffered injury in having to expend resources to comply with the law, but this

injury is different in kind from that necessary to establish standing in a voting rights case. “[A]

plaintiff who has been subject to injurious conduct of one kind [does not] possess by virtue of that

injury the necessary stake in litigating conduct of another kind, although similar, to which he has

not been subject.” Nat’l Federation of the Blind of Tex., Inc. v. Abbott, 647 F.3d 202, 209 (5th Cir. 2011)

(quoting Blum v. Yaretsky, 457 U.S. 991, 999 (1982)); cf. Vieth v. Pennsylvania, 188 F. Supp. 2d 532,

546 (M.D. Pa. 2002) (“It goes without saying that political parties, although the principal players in

the political process, do not have the right to vote.”). Plaintiff is necessarily asserting the rights of

third parties and therefore cannot sue under § 1983. Because this follows from the statute itself,

Plaintiff cannot invoke any prudential exceptions. See Warth v. Seldin, 422 U.S. 490, 514 (1975).

        The Court should not rely on Texas Democratic Party v. Hughs (TDP) to analyze the statutory

standing question in this case. 474 F. Supp. 3d 849, 856 (W.D. Tex. 2020), rev’d and remanded, 860 F.

App’x 874 (5th Cir. 2021). TDP found that organizations could establish standing on behalf of their

members who suffered an alleged constitutional harm, not that Section 1983 standing was proper

for injuries to the organization itself. Id.; see also Veasey v. Perry, 29 F. Supp. 3d 896, 907 (S.D. Tex.

2014) (“As observed, however, associational 4 standing allows enforcement of the individual

member’s rights.”) (emphasis added). This argument thus depends on Plaintiff asserting that its

members suffer a harm of constitutional proportions, which it has not done, and whatever the

impact of HB 3107 on Plaintiff’s finances, these harms are not actionable under Section 1983

because Plaintiff does not have members and there is no harm to personal voting rights, since


4 Movants do not concede that associational standing also allows an organization statutory standing under
Section 1983.
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Plaintiff is an artificial organization that does not vote. Appx. 79, 101:3–24. See Coon v. Ledbetter, 780

F.2d 1158, 1160 (5th Cir. 1986); see also League of Women Voters of Nassau Cty. v. Nassau Cty. Bd. of

Sup’rs, 737 F.2d 155, 160 (2d Cir. 1984) (holding that organization does not have standing to sue

under Section 1983 for violations of the personal constitutional rights of others).

        Having no voting rights of its own and having no members whose voting rights could have

been infringed, Plaintiff has no standing to sue under Section 1983.

II.     HB 3107 is constitutional under Anderson-Burdick.

        Nothing in the summary judgment evidence shows that Plaintiff—an artificial entity—is a

voter whose constitutional right to cast a ballot in a Texas election is being infringed. What Plaintiff

is asserting is a constitutional right to impose its preferred form of voter registration technology on

the State of Texas. ECF 1 ¶¶ 18–20. Summary judgment is warranted because Plaintiff has no cause

of action a federal court may entertain. But even if Plaintiff’s claims did not suffer this fatal flaw,

they would suffer another; the burden they allege is minimal and outweighed by Texas’s important

regulatory interests.

        “Common sense, as well as constitutional law, compels the conclusion that government

must play an active role in structuring elections; ‘as a practical matter, there must be a substantial

regulation of elections if they are to be fair and honest and if some sort of order, rather than chaos,

is to accompany the democratic processes.” Burdick v. Takushi, 504 U.S. 428, 433 (1992) (quoting

Storer v. Brown, 415 U.S. 724, 730 (1974)). In deciding whether an election regulation is

constitutional, courts must balance “the character and magnitude of the asserted injury” to the

rights the plaintiff seeks to vindicate against “the precise interests put forward by the State as

justifications” for the challenged rule, all while taking into consideration “the extent to which those

interests make it necessary to burden the plaintiff’s rights.” Id. at 434 (quoting Anderson v. Celebreeze,

460 U.S. 780, 789 (1983)). When a state election law imposes only “reasonable, nondiscriminatory

restrictions” upon the First and Fourteenth Amendment rights of voters, “the state’s important
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regulatory interests are generally sufficient to justify” the restrictions. Anderson, 460 U.S. at 788. The

State, after all, has considerable power “to engage in ‘substantial regulation of elections” to ensure

that elections are well run. Voting for Am., Inc. v. Steen, 732 F.3d 382, 394 (5th Cir. 2013) (quoting

Storer, 415 U.S. at 730).

        HB 3107 does not encroach on the right to vote whatsoever, and even if it did, the law

survives Anderson-Burdick review because any burden is miniscule. The Constitution does not

include a freestanding right to for individuals to register to vote in whatever manner they or Plaintiff

deem most convenient.

        A.       The right to vote is not implicated by this lawsuit.

        Plaintiff’s constitutional claim fails here because the organization does not possess a right

to cast a ballot in Texas, and therefore no evidence shows that Plaintiff is burdened in the

constitutional sense—effectively, Plaintiff has no cause of action. When considering a challenge to

the limited availability of absentee ballots, the Supreme Court distinguished “the right to vote”

from the “claimed right to receive absentee ballots.” McDonald v. Bd. of Election Comm’rs of Chi., 394

U.S. 802, 807 (1969). It concluded that the plaintiffs’ inability to vote by mail did not implicate the

right to vote because it did not “preclude[ the plaintiffs] from voting” via other methods. Id. at 808.

Similarly, the Fifth Circuit has applied this reasoning in the context of Anderson-Burdick scrutiny to

find that the fundamental right to vote is not implicated by a Texas law that makes age-based

distinctions on who may receive and vote by absentee mail ballot as of right. Tex. Democratic Party

v. Abbott (TDP I), 961 F.3d 389, 404 (5th Cir. 2020) (quoting McDonald, 394 U.S. at 808 n.7). This

is so, the Court said, because the “right to vote is not ‘at stake’” if Texas is not prohibiting a plaintiff

“from voting by all other means” and where “plaintiffs are welcome and permitted to vote.” Id. 5


5 The merits panel that heard later decided the issues in TDP I stated that it was not deciding whether

Anderson-Burdick scrutiny applies the Twenty-Sixth Amendment challenge asserted in that case and left the
issue for the district court to decide. Tex. Democratic Party v. Abbott (TDP II), 978 F.3d 168, 194 (5th Cir.
2020).
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        The same reasoning applies here. The fax provision of HB 3107 adds to the procedures

already available for Texans to register to vote, it does not take anything away from anybody. See

McDonald, 394 U.S. at 807; Tex. League of United Latin Am. Citizens v. Hughs, 978 F.3d 136, 144 (5th

Cir. 2020) (“Indeed, one strains to see how [the proclamation] burdens voting at all” seeing how it

“is part of the Governor's expansion of opportunities to cast an absentee ballot in Texas well

beyond the stricter confines of the Election Code.”); cf. Tex. Democratic Party v. Abbott (TDP II), 978

F.3d 168, 190–91 (5th Cir. 2020) (“an election law abridges a person’s right to vote for the purposes

of the Twenty-Sixth Amendment only if it makes voting more difficult for that person than it was

before the law was enacted or enforced”). As set forth at length in Undisputed Facts ¶¶ 1–3, supra,

Texas provides voters with multiple methods by which to register to vote, and registering via a

telephonic facsimile machine is but one of many. See also Appx. 138, 335:5–18; 336:7–337:5; Bryant

Dep. 114:1–11, 142:19–143:15, Appx. 466, 473. Based on the availability of several avenues for

Texans who seek to vote, the Court should conclude that the fundamental right to vote is not

implicated by Plaintiff’s claims and uphold HB 3107 as constitutional on this ground alone.

        B.      The burden, if any, of complying with HB 3107 survives Anderson-Burdick
                scrutiny.

        When the challenged election procedure is reasonable and nondiscriminatory, the State’s

important regulatory interests are generally sufficient to justify the burden, if any, on the voter.

Anderson, 460 U.S. at 788. When analyzing the burden, the Court must take care to distinguish the

burden of compliance from the consequence of noncompliance with the election provision.

Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 198 (2008) (analyzing the burden on voters of

obtaining identification rather than the consequence of attempting to vote without identification).

The Supreme Court has always analyzed “the magnitude of burdens . . . categorically and [has] not

consider[ed] the peculiar circumstances of individual voters or candidates.” Id. at 206. Plaintiff

cannot show voters are categorically burdened by the availability of registration by fax with hard-

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copy confirmation.

                1.       Texans are not required to vote by fax.

         HB 3107 does not cause an extra burden on voters, but rather enlarges the procedures

available for voter registration by including a fax option in addition to the options that are already

available, such as through DPS, designated assistants, direct mail, deputy registrars, designated voter

registration agencies, and personal delivery. Tex. Elec. Code §§ 13.002(a), 13.003, 20.001. Even if

this Court were to consider fax registration in a vacuum instead of as one option among many,

which it should not do, the burden imposed is justified by compelling state interests in ensuring

election security. See Richardson v. Tex. Sec’y of State, 978 F.3d 220, 224–25 (5th Cir. 2020) (“To further

its compelling interest in safeguarding the integrity of the election process, Texas conditions the

vote-by-mail privilege on compliance with various safeguards. One of those, at issue here, is

signature verification.”).

        Elfant testified that 97% of people of voting age are registered to vote in Travis County.

Appx. 329, 425:16–427:9. Callanen, as one example, stated that she makes all of the several methods

of registration available to her constituents to the greatest degree possible so that they have ample

opportunity to register, such as having approximately 2,000 deputy registrars to help. Appx. 199–

203, 217:2–233:8. If HB 3107 posed any serious burden to any person wanting to register,

Defendants could not have had this level of success. Far from being a “severe” burden requiring

the State’s interest to be narrowly tailored to the harm it seeks to prevent, HB 3107’s fax provision

imposes a minimal burden by requiring a registrant to physically sign the original application instead

of applying an imaged signature, or resort to one of the myriad of alternative options. See Richardson,

978 F.3d at 240.

        Plaintiff’s CEO and expert both concede the availability of several forms of registration

outside of fax submission. Appx. 138, 335:5–18, 336:7–337:5; Appx. 466, 114:1–11; Appx. 473,

142:19–143:15. Yet Plaintiff’s expert admits that her analysis only assessed the burden under the
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fax provision of HB 3107 and she did not account for the several other ways available to registrants

that might alleviate any supposed burden. Appx. 473, 142:19–143:15. Indeed, Plaintiff’s expert

testified that it is easier to locate a printer than it is to locate a fax machine. Appx. 475, 151:7–11.

        Further, any burden on voters’ rights was caused by Plaintiff itself. It was Plaintiff, not the

counties or the State, that inserted confusion and possible disenfranchisement into the registration

process. Ex. C, Appx. 4; Appx. 71-2, 68:4–71:19; Appx. 500, 65:1–66:8; Appx. 509, 102:21–103:21;

Appx. 511, 110:18–111:1. The evidence shows that:

•   Plaintiff deliberately targeted “favorable counties” that it believed it could talk into using its

    platform while acknowledging that several counties did not accept Plaintiff’s interpretation of

    the code. Appx. 74, 80:11–16; Appx. 77, 92:11–93:11.

•   Plaintiff refused to seek clarification from the Secretary of State. Appx. 98, 177:5–12; Appx.

    110, 223:3–16.

•   Plaintiff withheld from users that they were part of a “pilot project” that used their applications

    as ingredients in Plaintiff’s experiment to see if its software worked, which it did not. Appx. 4;

    Appx. 71–72, 68:4–71:19; Appx. 184–85, 160:17–161:21; Appx. 497, 56:16–20; Appx. 498,

    58:15–60:8; Appx. 512, 113:22–114:7; Appx. 370, 142:4–14.

        In sum, Plaintiff was responsible for disrupting the County Defendants’ registration

machinery, and Plaintiff was responsible for the resulting uncertainty as to whether any of its users

had actually registered. Plaintiff stacked the dynamite and Plaintiff lit the fuse; this lawsuit is its

attempt to blame the Defendants for the damage and debris. See Blankenship v. Blackwell, 341 F.

Supp. 2d 911, 924 (S.D. Ohio 2004) (quoting Keystone Driller Co. v. Gen. Excavator Co., 290 U.S. 240,

245 (1993)) (doctrine of unclean hands barred plaintiff from seeking equitable relief, not “as a

punishment but rather to further ‘the advancement of right and justice’”).




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                2.      Texas’s compelling interest in election security makes it necessary to
                        require a signature at registration.

        “Texas ‘indisputably has a compelling interest in preserving the integrity of its election

process.’” Richardson, 978 F.3d at 239 (quoting Eu v. S.F. Cty. Democratic Cent. Comm., 489 U.S. 214,

231 (1989)). HB 3107 imposes only minimal, non-discriminatory burdens if any, and the statute is

therefore subject to relaxed scrutiny and Texas need only point to a “legitimate state interest[]” to

justify HB 3107 under Anderson-Burdick scrutiny. See Burdick, 504 U.S. at 434; Tex. Indep. Party v. Kirk,

84 F.3d 178, 184 (5th Cir. 1996). First, HB 3107 helps maintain accurate voting rolls and combat

the use of fraudulent signatures. Appx. 175–76, 124:21–125:9; Appx. 430, 219:6–220:18; Ex. G at

pp. 6, 10, Appx. 20, 24; see Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2340 (2021).

        One strong and entirely legitimate state interest is the prevention of fraud. Fraud
        can affect the outcome of a close election, and fraudulent votes dilute the right of
        citizens to cast ballots that carry appropriate weight. Fraud can also undermine
        public confidence in the fairness of elections and the perceived legitimacy of the
        announced outcome.

Id. Inaccuracies in voter registration are a serious problem: “It has been estimated that 24 million

voter registrations in the United States—about one in eight—are either invalid or significantly

inaccurate.” See Husted v. A. Philip Randolph Inst., 138 S. Ct. 1833, 1838 (2018). “Any corruption in

voter registration affects a state’s paramount obligation to ensure the integrity of the voting process

and threatens the public’s right to democratic government.” Steen, 732 F.3d at 394. Accordingly,

Texas has a weighty “interest in preventing voter registration fraud,” id. at 394–95, and other

conduct that frustrates the operation of the electoral process by inserting confusion and disruption

as Plaintiffs did to the County Defendants.

        When statutes that are duly enacted by the Texas Legislature require physical signatures as

a part of the electoral process, federal courts err under Anderson-Burdick if they rewrite those statutes

to compel allowance of signatures by electronic means, even in the midst of a global pandemic. See

Thompson v. Dewine, 976 F.3d 610, 620 (6th Cir. 2020); Esshaki v. Whitmer, 813 F. App’x 170, 172

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(6th Cir. 2020) (citing Clingman v. Beaver, 544 U.S. 581, 586 (2005)). And the Fifth Circuit has recently

found that Texas’s statutory scheme allowing for the comparison of a voter’s signature on the

carrier envelope for a mail-in ballot against a voter’s signature on the mail-in ballot application

passes the constitutional test under Anderson-Burdick. Richardson, 978 F.3d at 238 (citing Crawford,

553 U.S. at 239 (Breyer, J., dissenting)). The Fifth Circuit noted that both the opinion for the Court

and Justice Breyer’s dissent in Crawford agree that a “requirement that voters ‘sign their names so

their signatures can be compared with those on file” and the counting of “a provisional ballot . . .

if the state ‘determines that his signature matches the one on his voter registration form” are not

unconstitutionally burdensome. Id. (quoting Crawford, 553 U.S. at 197 (plurality op.), 239 (Breyer,

J., dissenting)). If the signature comparison scheme is constitutional, it stands to reason that

requiring a signature at the time of registration—in the first instance—is also constitutional because

the burden is nondiscriminatory and minimal, and the requirement serves the important regulatory

interests of the State in preventing fraud in the electoral process. See id. at 239–40. The Texas

Secretary of State has advised Defendants that signature verification committees or early voting

ballot boards may look to a voter’s “past signatures on file with the early voting clerk or voter

registrar” if the authenticity of signatures comes into question. Tex. Sec’y of State, Election

Advisory No. 2022-08 (Jan. 28, 2022), available at sos.texas.gov/elections/laws/advisory2022-

08.shtml.

        To achieve its interest in securing the election, Texas investigates alleged voter fraud by

analyzing signatures on voter registration records with the assistance of county election

administrators—movants are not asserting a hypothetical state interest in this regard. Appx. 175,

124:21–125:9; Appx. 430, 219:6–220:18; Appx. 20, 24. Without good exemplars of a person’s

physical signature, authorities could not achieve indictments against defendants accused of using

false signatures of others to perpetrate election fraud through mail ballots. Appx. 20; see Richardson,

978 F.3d at 238.
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        Plaintiff may take the position that its use of imaged signatures serves all of these purposes

the same as a written signature would, but the evidence in this case proves that notion dubious—

Plaintiff’s software produced images of signatures that were in many cases illegible and which the

county officials viewed as unacceptable. Appx. 4–5; Appx. 262-3, 160:2–161:21; Appx. 184, 160:17–

161:21; Appx. 497, 56:16–20; Appx. 498, 58:15–60:8; Appx. 512, 113:22–114:7; Appx. 370, 142:4–

14. Plaintiff’s suggestion that Texas accepting signatures on an electronic pad via DPS is equivalent

to its users submitting imaged signatures is a mischaracterization because DPS does not utilize

“imaged signatures” to facilitate registration. Appx. 390, 59:19–60:2, Appx. 391, 61:19–62:12. The

signature is captured by an electronic pad controlled by DPS in front of a state official inside of a

state run facility. Id. Even Plaintiff’s own expert admits that this methodology is more secure than

permitting digital signatures in an online setting. Appx. 466, 114:1–11. On these facts, Plaintiff is

unable to carry its summary judgment burden to demonstrate that the State’s interests in preventing

the proliferation of fraudulent signatures in voter registration is not served by HB 3107’s signature

requirement. See Crawford, 553 U.S. at 202–03 (citing Burdick, 504 U.S. at 439).

                3.       HB 3107 upholds voters’ faith in the electoral process and ensures
                         eligible voters are registered accurately.

        Texas also has compelling interests in ensuring accuracy of its registration rolls and

maintaining voter confidence in its electoral system. E.g., Husted, 138 S. Ct. at 1864 n.* (Sotomayor,

J., dissenting) (citing 52 U.S.C. § 20501); Steen, 732 F.3d at 394. Plaintiff does not appear to challenge

the requirement that all voter registration applications submitted by mail contain a wet signature;

instead, it appears to only challenge the requirement that applications submitted by both fax and

mail contain a wet signature. ECF 1 at 6. Facsimiles are prone to transmission errors that can cause

the image to fail to transmit either entirely or partially, or result in an illegible image. Appx. 372,

149:1–150:1. These problems can occur for any number of reasons, including busy or interrupted

telephone lines, human error, improperly loaded paper, empty ink cartridges, and any number of

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other problems. Id.

        When a voter registration application arrives by mail, and the county has no record of

previously receiving it by fax due to a transmission problem, it is treated as a new voter registration

application submitted by mail. Appx. 369, 139:2-13, Appx. 372, 150:16–151:1. It is undisputed in

this matter that voter registration applications submitted solely via mail require a wet signature. See

Appx. 369, 137:9–12. The wet signature requirement serves a practical purpose because an eligible

voter will still be registered by mail when their fax failed due to a transmission error – but only if

the mailed copy contains a wet signature.

        These problems aren’t hypothetical. Dallas, Travis, and Bexar Counties experienced

problems with legibility of the faxes Plaintiff sent. Appx. 4; Appx. 71–72, 68:4–71:19, Appx. 98,

174:20–175:6; Appx. 262–63, 160:2–161:21; Appx. 497, 56:16–20; Appx. 498, 58:15–60:8; Appx.

512, 113:22–114:7; Appx. 370, 142:4–14. Approximately 15 percent of the applications submitted

by Plaintiff to Dallas County contained signature lines that were blank, blacked out, illegible, or

otherwise of such poor quality that they could not be accepted. Appx. 512, 114:8–17. Dallas County

also did not receive, at a minimum, 259 applications that should have been faxed to them by

Plaintiff. Appx. 515, 125:17–126:21. All of these voters would be registered by mail had the copy

of their applications arriving by mail contained a wet signature. Maintaining an electoral system that

allows the loss of 15 percent of registration applications would severely harm voters’ faith in a

working democracy—yet that is the result Plaintiff seeks by this suit. See Steen, 732 F.3d at 394.

III.    Plaintiff has no meritorious claim under Section 1971.

        Plaintiff’s claims under 52 U.S.C. § 10101(a)(2)(B) (Section 1971 of the Civil Rights Act of

1964) fail for all of the reasons articulated in OAG’s Motion to Dismiss, ECF 53 at pp. 10–14,

which he respectfully asks the Court to reconsider, and for the reasons articulated in County-

Intervenor’s Motion for Summary Judgment, which he joins in full. The Court should find that

Section 1971 does not create a private cause of action for Plaintiff because its language allows only
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the Attorney General to bring suit and because the Supreme Court’s reframing of the requirement

to find a private cause of action in Alexander v. Sandoval, 532 U.S. 275, 287 (2001), requires dismissal.

The Court should also find that Plaintiff failed to state a claim for which relief may be granted

because the Complaint does not allege that HB 3107 is racially discriminatory. See Broyles v. Texas,

618 F. Supp. 2d 661, 697 (S.D. Tex. 2009), aff’d, 381 F. App’x 370 (5th Cir. 2010) (quoting Ind.

Democratic Party v. Rokita, 458 F. Supp. 2d 775, 839 (S.D. Ind. 2006)).

        Should the Court instead find that it must reach the merits of Plaintiff’s Section 1971 claim,

the evidence establishes as a matter of law that HB 3107’s signature requirement is material, see

Section II, supra, just as other courts have found. Org. for Black Struggle v. Ashcroft, No. 2:20-CV-

04184-BCW, 2021 WL 1318011, at *5 (W.D. Mo. March 9, 2021) (signature is material to voter

qualification); Howlette v. City of Richmond, 485 F. Supp. 17, 22–23 (E.D. Va. 1978); see also Diaz v.

Cobb, 435 F. Supp. 2d 1206, 1211 (S.D. Fla. 2006) (check boxes regarding felon, citizen, and mental-

incapacitation status are material). Additionally, however, the provision is material to ascertaining

the qualification of the voter because any person who refuses to subject themselves to Texas’s

common-sense fraud prevention measures by refusing to sign is disqualified from registering to

vote, and because a defect in signature does not result in “denial” of the right to vote under Section

1971—the registrant is given the chance to correct the signature defect within 10 days to preserve

the same effective date. 52 U.S.C. § 10101(a)(2)(B); Tex. Elec. Code § 13.073; see United States v.

Ward, 345 F.2d 857, 862 (5th Cir. 1965); Appx. 426, 202:13–203:1.

                                          CONCLUSION

        Defendants Paxton and Garza request that the Court grant this Motion for Summary

Judgment and enter a judgment dismissing all of Plaintiff’s claims.




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                               CERTIFICATE OF SERVICE

        I hereby certify that on April 8, 2022 a true and correct copy of the foregoing document
has been sent by electronic notification to all counsel of record through ECF by the United States
District Court, Western District of Texas, Austin Division.

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